            CaseApplication
   AO 106A (08/18) 8:20-mj-00467-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    07/31/20
                                                                                    Means                 Page 1 of 19 Page ID #:1

                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                              Central District
                                                            __________         ofof
                                                                        District  California
                                                                                    __________

                     In the Matter of the Search of                            )
             (Briefly describe the property to be searched or identify the     )
                             person by name and address)                       )         Case No. 8:20-mj-00467-DUTY
         A space grey Apple iPhone 11 cellular telephone                       )
           seized by the Santa Ana Police Department                           )
            (“SAPD”) on or about April 21, 2020, and                           )
             currently in the possession of the SAPD                           )
                     in Santa Ana, California                                  )

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is                  (check one or more) :

                       evidence of a crime;
                       contraband, fruits of crime, or other items illegally possessed;
                       property designed for use, intended for use, or used in committing a crime;
                       a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
              Code Section                                                              Offense Description
          21 U.S.C. § 841(a)                                                  Possession with intent to distribute controlled
                                                                              substances

             The application is based on these facts:
                   See attached Affidavit
                     Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                              ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                                   Paul Yasutake
                                                                                                               Applicant’s signature

                                                                                              PAUL YASUTAKE, Task Force Officer
                                                                                                               Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                               Judge’s signature

City and state: Santa Ana, CA                                                      HONORABLE KAREN E. SCOTT, U.S. Magistrate Judge
                                                                                                               Printed name and title

AUSA: D. Ahn (x3539)
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                             ATTACHMENT A

I. DEVICE TO BE SEARCHED

     The SUBJECT DEVICE is a space grey Apple iPhone 11 cellular

telephone seized by the Santa Ana Police Department (“SAPD”) on

or about April 21, 2020, and currently in the possession of the

SAPD in Santa Ana, California.




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                              ATTACHMENT B

I. ITEMS TO BE SEIZED

     1.    The items to be seized are evidence, contraband,

fruits, and instrumentalities of violations of Title 21 U.S.C.

§ 841(a) (possession with intent to distribute controlled

substances) (the “SUBJECT OFFENSE”), namely:

           a.    Data, records, documents, or information

(including electronic mail and messages) pertaining to narcotics

trafficking, including the obtaining, possessing, using, or

transferring of personal and/or financial transaction

identification information, such as names, addresses, phone

numbers, credit and debit card numbers, security codes, bank

account and other financial institution account numbers, Social

Security numbers, email addresses, IP addresses, as well as PIN

numbers and passwords for financial institutions or internet

service providers;

           b.    Data, records, documents, or information

(including electronic mail and messages) pertaining to illicit

controlled substances.

           c.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the SUBJECT OFFENSE;

           d.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,


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Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications or other text or written

communications sent to or received from any digital device

concerning the SUBJECT OFFENSE; and

          e.    Any device used to facilitate the SUBJECT OFFENSE

(and forensic copies thereof).

          f.    Any SUBJECT DEVICE which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the SUBJECT OFFENSE, and forensic copies thereof.

          g.    With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                iii. evidence of the attachment of other devices;

                iv.   evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;


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                v.    evidence of the times the device was used;

                vi.   passwords, encryption keys, and other access

devices that may be necessary to access the device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.      records of or information about

Internet Protocol addresses used by the device;

                ix.   records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     2.   As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.


II. SEARCH PROCEDURE FOR THE SUBJECT DEVICE

     3.   In searching the SUBJECT DEVICE (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

          a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) may

search any SUBJECT DEVICE capable of being used to facilitate


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the SUBJECT OFFENSE or containing data falling within the scope

of the items to be seized.

          b.    The search team will, in its discretion, either

search the SUBJECT DEVICE where it is currently located or

transport it to an appropriate law enforcement laboratory or

similar facility to be searched at that location.

          c.    The search team shall complete the search of the

SUBJECT DEVICE as soon as is practicable but not to exceed 120

days from the date of issuance of the warrant.         The government

will not search the digital device(s) beyond this 120-day period

without obtaining an extension of time order from the Court.

          d.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in any SUBJECT DEVICE capable of containing any of the

items to be seized to the search protocols to determine whether

the SUBJECT DEVICE and any data thereon falls within the scope

of the items to be seized.     The search team may also search for

and attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the scope of the items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool


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Kit), which tools may use hashing and other sophisticated

techniques.

           e.   If the search team, while searching the SUBJECT

DEVICE, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that

SUBJECT DEVICE pending further order of the Court and shall make

and retain notes detailing how the contraband or other evidence

of a crime was encountered, including how it was immediately

apparent contraband or evidence of a crime.

           f.   If the search determines that the SUBJECT DEVICE

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the SUBJECT DEVICE and delete or destroy all forensic copies

thereof.

           g.   If the search determines that the SUBJECT DEVICE

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

           h.   If the search determines that the SUBJECT DEVICE

is (1) itself an item to be seized and/or (2) contains data

falling within the list of other items to be seized, the

government may retain the digital device and any forensic copies

of the digital device, but may not access data falling outside

the scope of the other items to be seized (after the time for

searching the device has expired) absent further court order.




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          i.    The government may also retain the SUBJECT DEVICE

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

          j.    After the completion of the search of the SUBJECT

DEVICE, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.




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                           A F F I D A V I T

     I, Paul Yasutake, being duly sworn, declare and state as

follows:
                     I. PURPOSE OF THE AFFIDAVIT

     1.     This affidavit is made in support of an application

for a warrant to search the digital device seized by the Santa

Ana Police Department (“SAPD”) on or about April 21, 2020,

hereafter referred to as the “SUBJECT DEVICE.”

     2.     I seek a search warrant for the SUBJECT DEVICE,

further described below as well as in Attachment A, for

evidence, contraband, fruits, and instrumentalities of

violations of 21 U.S.C. § 841(a) (possession with intent to

distribute controlled substances) (the “SUBJECT OFFENSE”), as

described further in Attachment B.       Attachments A and B are

incorporated herein by reference.


          II. BACKGROUND OF TASK FORCE OFFICER PAUL YASUTAKE

     3.     I am currently a Special Agent (“SA”) with the

California Department of Justice (“CA DOJ”), Los Angeles

Regional Office, and also a federally deputized Task Force

Officer (“TFO”) presently working with the Federal Bureau of

Investigation (“FBI”).

     4.     I have been employed by the CA DOJ since April 2001.

I completed a 16-week basic training course in Sacramento,

California.    I currently hold an Advanced Certificate from the

Commission on Peace Officer Standards and Training.         I have

received formal and informal training in the investigation of
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criminal activity involving money laundering, organized crime,

fraud, and illicit narcotic activity, among others.          I was

previously assigned to the Bureau of Narcotic Enforcement where

I was responsible for conducting investigations into mid to

major level narcotics trafficking, gangs, clandestine

laboratories, and pharmaceutical drug diversion.

      5.      I am a member of the Orange County Asian Organized

Crime Task Force (“OCAOCTF”).       The OCAOCTF is composed of

federal and local law enforcement agencies, including, but not

limited to, the FBI and detectives from the SAPD.          The OCAOCTF

is responsible for, among other things, investigating violations

of federal law, including money laundering, identity theft,

drug-trafficking crimes, and crimes of violence, such as

aggravated assault and robbery committed by criminal

organizations and other criminal street gangs in Orange County.

      6.     The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested search warrant

and does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.




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                   III. STATEMENT OF PROBABLE CAUSE

      7.    Based on the following, a suspect named Johnny Van

NGUYEN (“NGUYEN”) is believed to be part of a conspiracy to

distribute illicit controlled substances.

      8.    On December 1, 2019, NGUYEN was observed by Officer

(“Ofc.”) Sattar, who initiated a traffic stop on a Silver Honda

Accord for a violation of the California Vehicle Code (“CVC”).

The driver was identified as NGUYEN.        NGUYEN was detained by

Ofc. Sattar after he admitted to possessing methamphetamine.

Ofc. Sattar conducted a search of the silver Honda Accord.            Ofc.

Sattar located approximately 1.7 grams of a white crystalline

substance resembling methamphetamine and a stack of U.S.

currency held together by rubber bands inside a black backpack.

The cash had a post-it attached reading “$1,226 11/30 pm JB.”

      9.    During a Miranda interview, NGUYEN admitted to smoking

methamphetamine.     NGUYEN admitted the black backpack found

inside the vehicle belonged to him.         NGUYEN was cited and

released at the scene.

      10.   About two months later, on January 31, 2020, SAPD Gang

Detectives initiated a traffic stop on a white Lexus RX350 SUV.

The driver of the vehicle was identified as NGUYEN.          NGUYEN told

Detective (“Det.”) Raya he was on his way to work at “Asia.”

Det. Raya observed a black bag on NGUYEN’s lap.          The rear

passenger was identified as Ernesto CELAYA.         CELAYA admitted to

Det. Raya that he had methamphetamine in his possession.            Det.

Raya searched CELAYA and found approximately 1.75 grams of a

white crystal-like substance presumed to be methamphetamine.


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      11.   Det. Raya contacted NGUYEN and told him CELAYA had

narcotics in his possession.       Det. Raya told NGUYEN that they

were going to check his vehicle for additional narcotics and

NGUYEN said “alright.”      Det. Raya and Det. Bodnar searched the

vehicle.    Det. Raya found $4,000 in U.S. currency and a total of

forty-one grams of a white crystal-like substance presumed to be

methamphetamine.     NGUYEN was arrested and transported to the

Santa Ana City Jail.     Based on my training and experience,

forty-one grams of methamphetamine is a distribution quantity.

      12.   Under Miranda, NGUYEN admitted to Det. Raya that the

backpack belonged to him.      NGUYEN admitted to buying all of the

methamphetamine and stated he gave it to his friends and used it

personally.

      13.   A few weeks later, on February 18, 2020, SAPD officers

conducted a patrol check at EZ Boba.          NGUYEN was discovered by

SAPD officers and detained.      SAPD officers located a clear

plastic baggie containing a white crystalline substance

resembling methamphetamine weighing 14.7 grams gross weight.

NGUYEN admitted to Ofc. Smith that the plastic bag containing

the suspected methamphetamine belonged to him.          NGUYEN was

arrested and transported to the Santa Ana City Jail.           Based on

my training and experience, 14.7 grams is a distribution

quantity.

      14.   NGUYEN was advised of his Miranda rights by Ofc.

Smith.   NGUYEN then told Ofc. Smith that he shares the

methamphetamine with other people.          NGUYEN told Ofc. Smith he




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does this routinely.     NGUYEN also stated he had transported the

narcotics in his Lexus.

      15.    On April 17, 2020, TFO Velasco obtained a warrant for

NGUYEN’s arrest for a violation of 21 U.S.C. §§ 841(a)(1),

(b)(1)(B)(viii): Possession with Intent to Distribute

Methamphetamine, based on the January 31, 2020 traffic stop made

by the SAPD.

      16.    On April 21, 2020, SAPD detectives found NGUYEN’s

white Lexus RX350 at 1836 South Bamdal Street, in the City of

Santa Ana.

      17.    TFO Velasco observed NGUYEN exit the residence and

enter the front driver seat of the white Lexus RX350.           SAPD

followed the Lexus.     SAPD Ofc. Gallardo initiated a traffic stop

on NGUYEN’s white Lexus for a CVC violation.         TFO Velasco

advised Ofc. Gallardo of the outstanding arrest warrant for

NGUYEN.     Ofc. Gallardo pulled over NGUYEN’s vehicle and NGUYEN

was arrested on the arrest warrant mentioned above.

      18.    Ofc. Gallardo searched NGUYEN and his vehicle incident

to the arrest.    Ofc. Gallardo located a space grey Apple iPhone

11 on NGUYEN’s person (i.e., the SUBJECT DEVICE).          Ofc. Gallardo

located a stack of U.S. currency wrapped with a rubber band on

the center console.     There was a post-it note on the money,

which said, “$2283 4/20 AA pm.”


        IV. TRAINING AND EXPERIENCE ON NARCOTICS TRAFFICKING

      19.    Based upon my training and experience, including

investigations involving narcotics trafficking, I know that:


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           a.    Persons involved in organized criminal activity,

including narcotics trafficking, commonly utilize

telecommunication devices such as cellular telephones, smart

phones, tablets, etc., to further their illegal operations and

communicate with associates.

           b.    I am aware that persons involved in these

criminal activities commonly transfer data from one storage

device to another to allow for instant and easy access of

information.    I am also aware it is common practice for co-

conspirators to transfer information and maintain communication

with each other via electronic data storage and or communication

devices.   The transfer of data and or communication is commonly

done between mobile devices, such as smartphones and tablets,

via text messaging and/or e-mail.       Other methods of transferring

data between devices include the downloading of data from mobile

devices to desktop and laptop computers.         The data can then be

downloaded to portable hard drives, thumb drives, and/or other

electronic data storage devices.

           c.    People involved in narcotics trafficking commonly

maintain addresses and/or telephone numbers in their telephones,

computers, and/or other digital devices which reflect names,

addresses, and/or telephone numbers of their associates in the

narcotics trafficking organization.         People involved in

narcotics trafficking are commonly in contact with these

associates via telephones, computers, and/or other digital

devices, and they often keep records of recent incoming and




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outgoing calls, emails, voicemails, text messages, social media

messages, and other communications.

           d.    People involved in narcotics trafficking often

use the text messaging feature which allows individuals to send

text messages over their telephones, computers, and/or other

digital devices to contact their associates and to avoid

detection by law enforcement.

           e.    People involved in narcotics trafficking often

leave and receive voicemail messages with their associates,

suppliers, and customers.

           f.    Identifying the names and numbers in telephones,

computers, and/or other digital devices, (as well as GPS

information on the devices) believed to be used by a person

involved in narcotics trafficking can lead to the identification

of their associates, the location of “stash houses” where

additional narcotics and or the proceeds from the sales of

narcotics are stored, the geographic breadth of the narcotics

trafficking operation, and the identities of potential

suppliers, customers, leaders, managers, or supervisors of

narcotics trafficking organization by examining the calling

patterns of these individuals.

           g.    Successful narcotics traffickers generate large

sums of money from their illicit business often launder the

proceeds of their illicit business to make them appear

legitimate or put them beyond the reach of law enforcement.

Typically this is done by wiring or depositing cash into bank

accounts or other investment vehicles such as brokerage


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accounts.    Evidence of these types of transactions can often be

found by searching telephones, computers, and/or other digital

devices.
            V. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

      20.   As used herein, the term “digital devices” includes

the SUBJECT DEVICE.

      21.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

            a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

            b.   Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That


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evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

            c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      22.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,


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often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      23.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.
                              VI. CONCLUSION

      24.   For all the reasons described above, there is probable

cause to believe that the items listed in Attachment B, which

constitute evidence, fruits, and instrumentalities of violations

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of the SUBJECT OFFENSE described above, will be found on the

SUBJECT DEVICE described in Attachment A.


Attested to by the applicant in
accordance with the requirements
of Federal Rule of Criminal
Procedure 4.1 by telephone on this
___ day of July 2020.



HONORABLE KAREN E. SCOTT
UNITED STATES MAGISTRATE JUDGE




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